                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                         Plaintiff,                )
                                                   )
       vs.                                         )      No. 20-03118-01-CR-S-BP
                                                   )
MATTHEW CHIERA,                                    )
                                                   )
                         Defendant.                )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to the Indictment

filed on November 17, 2020, is now Accepted and the Defendant is Adjudged Guilty of such

offense. Sentencing will be set by subsequent Order of the Court.




                                                           /s/ Beth Phillips
                                                          BETH PHILLIPS
                                                   UNITED STATES DISTRICT JUDGE




Date: September 29, 2021




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